 Case 2:21-cv-00177-SRB Document 38-71 Filed 10/18/21 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                             DISTRICT OF ARIZONA


Grand Canyon University,                         No. 2:21-cv-00177-SRB
                     Plaintiff,                  [Proposed] Order Granting Plaintiff’s
                                                 Motion to Complete the
v.                                               Administrative Record and Take
                                                 Limited Discovery
Miguel Cardona, et al,

                    Defendants.


        [Proposed] Order Granting Motion to Complete the Administrative Record
                          and Take Limited Discovery

      Having considered Plaintiff Grand Canyon University’s Motion to Complete the
Administrative Record and Take Limited Discovery, and for good cause shown therein, IT
IS HEREBY ORDERED that the Motion is GRANTED.
      It is ORDERED that the Defendants complete the Administrative Record within 14
days by adding or otherwise logging all internal materials pertaining to the merits of the
Department of Education’s decisions to deny Grand Canyon University’s nonprofit status.
      It is further ORDERED that the Defendants complete the Administrative Record
within 14 days by adding Exhibits B-1 through B-14 and C-1 through C-45 to Grand
Canyon University’s Motion to Complete the Record and Take Limited Discovery.
      It is further ORDERED that Grand Canyon University is given leave to take
limited discovery to identify information necessary to complete the Administrative Record
and to show agency bad faith or bias. The parties shall file a discovery schedule with the
Court within 21 days from entry of this order.
Case 2:21-cv-00177-SRB Document 38-71 Filed 10/18/21 Page 2 of 2




     Plaintiff’s Motion to Complete the Record and Take Limited Discovery is hereby
GRANTED.
     IT IS SO ORDERED on this ________ day of ________________, 2021.


                                           ___________________________
                                           Susan R. Bolton
                                           United States District Judge
